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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:
                                               STIPULATION AND [PROPOSED]
ALL ACTIONS                                    ORDER EXTENDING PAGE LIMIT FOR
                                               CONSOLIDATED REPLY IN SUPPORT
                                               OF MOTION FOR FINAL APPROVAL
                                               AND MOTION FOR ATTORNEYS’ FEES,
                                               EXPENSES, AND SERVICE AWARDS

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor




STIPULATION AND [PROPOSED] ORDER                                                 MDL NO. 2843
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       By and through their respective undersigned counsel, Plaintiffs and Meta Platforms, Inc.

(“Meta”) (collectively, the “Parties”), submit this stipulated request for an order extending the

page limit to no more than 30 pages for a consolidated reply in support of two pending motions

related to the proposed settlement.
       1.      On June 21, 2023, Plaintiffs filed their Motion for Attorneys’ Fees, Expenses, and

Service Awards (Dkt. 1139). On July 11, Plaintiffs filed their Motion for Final Settlement

Approval (Dkt. 1145).

       2.      Objections to the first motion were due July 21. (Dkt. 1130, ¶ 19.) Objections to

the second motion were due July 26. (Id. ¶ 15.) Several objections have been filed by represented
class members (Dkts. 1147, 1152, 1154), in addition to other objections by pro se class members.

       3.      Plaintiffs’ replies in support of the two motions are due August 4. (Dkt. 1130,

¶¶ 19-20.) In Plaintiffs’ view, a consolidated reply in support of both motions will prevent

unnecessary repetition and promote clarity.

       4.      This Court’s Civil Standing Order notes that if the parties believe more pages are

necessary for motions for final approval of class settlements, the request is “likely to be granted.”

Civil Standing Order ¶ 51.

       5.      The Court previously granted a stipulated request that Plaintiffs be allowed to file

a motion for attorneys’ fees, expenses, and service awards of no more than 45 pages, although

ultimately, that motion was 31 pages.
       NOW, THEREFORE, THE PARTIES JOINTLY REQUEST, through their respective

counsel, subject to approval and order of the Court, that Plaintiffs be permitted to file a

Consolidated Reply in Support of Motions for Attorneys’ Fees, Expenses, and Service Awards,

and for Settlement Approval, not to exceed 30 pages.




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Dated: July 28, 2023                                Respectfully submitted,


KELLER ROHRBACK L.L.P.                              BLEICHMAR FONTI & AULD LLP

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PURSUANT TO STIPULATION, IT IS SO ORDERED.



DATE: August 3, 2023
                                          VINCE CHHABRIA
                                          United States District Judge




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